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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
1030 15th Street NW, B255                )
Washington, DC 20005                     )
                                         )
                              Plaintiff, )
                                         )
v.                                       )   Case No. 18-2846
                                         )
U.S. DEPARTMENT OF JUSTICE,              )
1425 New York Avenue NW                  )
Suite 11050                              )
Washington, DC 20530                     )
                                         )
U.S. DEPARTMENT OF                       )
HOMELAND SECURITY,                       )
245 Murray Lane SW                       )
Washington, DC 20528                     )
                                         )
U.S. CUSTOMS AND                         )
BORDER PROTECTION,                       )
1300 Pennsylvania Avenue NW              )
Washington, DC 20229                     )
                                         )
U.S. IMMIGRATION AND CUSTOMS             )
ENFORCEMENT,                             )
500 12th Street SW                       )
Washington, DC 20536                     )
                                         )
and                                      )
                                         )
U.S. CITIZENSHIP AND IMMIGRATION         )
SERVICES,                                )
20 Massachusetts Avenue NW               )
Washington, DC 20529-2120                )
                                         )
                            Defendants. )
                                         )
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                                          COMPLAINT

       1.       Plaintiff American Oversight brings this action against the U.S. Department of

Justice, the U.S. Department of Homeland Security, the U.S. Customs and Border Protection, the

U.S. Immigration and Customs Enforcement, and the U.S. Citizenship and Immigration Services

under the Freedom of Information Act, 5 U.S.C. § 552 (FOIA), and the Declaratory Judgment

Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive relief to compel

compliance with the requirements of FOIA.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.       Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       4.       Because Defendants have failed to comply with the applicable time-limit

provisions of the FOIA, American Oversight is deemed to have exhausted its administrative

remedies pursuant to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining

Defendants from continuing to withhold agency records and ordering the production of agency

records improperly withheld.

                                            PARTIES

       5.       Plaintiff American Oversight is a nonpartisan, non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to the promotion of transparency in government, the education of the public about

government activities, and ensuring the accountability of government officials. Through research

and FOIA requests, American Oversight uses the information it gathers, and its analysis of it, to




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educate the public about the activities and operations of the federal government through reports,

published analyses, press releases, and other media. The organization is incorporated under the

laws of the District of Columbia.

       6.       Defendant U.S. Department of Justice (DOJ) is a department of the executive

branch of the U.S. government headquartered in Washington, DC, and an agency of the federal

government within the meaning of 5 U.S.C. § 552(f)(1). DOJ has possession, custody, and

control of the records that American Oversight seeks.

       7.       Defendant U.S. Department of Homeland Security (DHS) is a department of the

executive branch of the U.S. government headquartered in Washington, DC, and an agency of

the federal government within the meaning of 5 U.S.C. § 552(f)(1). The DHS Privacy Office

(DHSHQ) coordinates FOIA requests for several DHS components, including the Office of the

Secretary and Deputy Secretary, the Office of the Executive Secretary, the Office of

Intergovernmental Affairs, the Management Directorate, the Office of Policy, the Office of

Legislative Affairs, and the Office of Public Affairs. DHS has possession, custody, and control

of the records that American Oversight seeks.

       8.       Defendant U.S. Customs and Border Protection (CBP) is a component of DHS

and is also headquartered in Washington, DC. CBP has possession, custody, and control of the

records that American Oversight seeks.

       9.       Defendant U.S. Immigration and Customs Enforcement (ICE) is a component of

DHS and is also headquartered in Washington, DC. ICE has possession, custody, and control of

the records that American Oversight seeks.




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       10.     Defendant U.S. Citizenship and Immigration Services (CIS) is a component of

DHS and is also headquartered in Washington, DC. CIS has possession, custody, and control of

the records that American Oversight seeks.

                                   STATEMENT OF FACTS

                                      DOJ Keywords FOIA

       11.     On June 20, 2018, American Oversight submitted a FOIA request to Defendant

DOJ seeking access to the following records:

                  1. All email communications containing the term “American
                     Academy of Pediatrics” OR “AAP.”

                  2. All email communications that contain any of the words in
                     Column A and any of the terms in Column B:

                               Column A                        Column B
                           a. Separat*                   b.   Famil*
                                                         c.   Parent*
                                                         d.   Guardian*
                                                         e.   FMUA

                  3. All email communications that contain any of the words in
                     Column C and any of the terms in Column D:

                                 Column C                      Column D
                           a.   ACLU                     f.   Separat*
                           b.   “zero tolerance”         g.   Deter*
                           c.   Asylum                   h.   Famil*
                           d.   “credible fear”          i.   Parent*
                           e.   1158                     j.   Kid*
                                                         k.   Child*
                                                         l.   Mother*
                                                         m.   Father*
                                                         n.   Guardian*
                                                         o.   UAC
                                                         p.   UC
                                                         q.   FMUA

American Oversight explained in its request that asterisks in keywords were intended to

designate the standard use of “wildcards” in the search for responsive records.


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       12.     American Oversight requested all responsive records from March 6, 2017 through

the date of the search and indicated that DOJ may limit its search to the following custodians: (1)

Jeff Sessions (Office of the Attorney General); (2) Peggi Hanrahan (Office of the Attorney

General); (3) Matthew Whitaker (Office of the Attorney General); (4) Rachael Tucker (Office of

the Attorney General); (5) Jody Hunt (Office of the Attorney General, Office of Legal Policy,

and current office, if different); and (6) Beth Williams (Office of Legal Policy).

       13.     DOJ assigned the request tracking number DOJ-2018-006172.

                                       DHS Keywords FOIA

       14.     On June 20, 2018, American Oversight submitted a FOIA request to Defendants

DHS, CBP, ICE and CIS seeking access to the following records:

                   1. All email communications containing any of the following
                      terms:

                       a.   “American Academy of Pediatrics”
                       b.   AAP
                       c.   Merkley
                       d.   “Prosecution initiative”

                   2. All email communications that contain any of the words in
                      Column A and any of the terms in Column B:

                                Column A                         Column B
                            a. Separat*                    b.   Famil*
                                                           c.   Parent*
                                                           d.   Guardian*
                                                           e.   FMUA

                   3. All email communications that contain any of the words in
                      Column C and any of the terms in Column D:

                                  Column C                       Column D
                            a.   ACLU                      f.   Separat*
                            b.   “zero tolerance”          g.   Deter*
                            c.   Asylum                    h.   Famil*
                            d.   “credible fear”           i.   Parent*
                            e.   1158                      j.   Kid*


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                                                         k.   Child*
                                                         l.   Mother*
                                                         m.   Father*
                                                         n.   Guardian*
                                                         o.   UAC*
                                                         p.   UC*
                                                         q.   FMUA

American Oversight explained in its request that asterisks in keywords were intended to

designate the standard use of “wildcards” in the search for responsive records.

       15.     With respect to DHSHQ, American Oversight indicated that the search may be

limited to the following custodians: (1) former Secretary John Kelly; (2) Secretary Kirstjen

Nielsen; (3) Chad Wolf; (4) Christina Bobb; (5) John Mitnick; (6) Michael Dougherty; and (7)

Julie Kirchner (USCIS Ombudsman).

       16.     With respect to ICE, American Oversight indicated that the search may be limited

to the following custodians: (1) Thomas Homan; (2) Thomas Blank; (3) John Feere; (4) Greg

Archambeault, San Diego Office Field Director; (5) Joseph Greene, San Diego Office Assistant

Field Director; (6) Adrian P. Macias, El Paso Office Field Director; and (7) Frances M. Jackson,

El Paso Office Assistant Field Director.

       17.     With respect to CBP, American Oversight indicated that the search may be

limited to the following custodians: (1) Kevin McAleenan, Commissioner; (2) Julie Kirchner; (3)

Ronald Vitiello, Acting Deputy Commissioner; (4) Carla Provost, Acting Chief, United States

Border Patrol; (5) Todd Owen, Executive Assistant Commissioner, Office of Field Operations;

(6) Andrew Meehan, Assistant Commissioner for Public Affairs; (8) Pete Flores, San Diego

Field Director; and (9) Hector A. Mancha, Jr., El Paso Field Director.




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       18.     With respect to USCIS, American Oversight indicated that the search may be

limited to L. Francis Cissna and Jennifer P. Higgins, Associate Director, Refugee, Asylum and

International Operations.

       19.     American Oversight requested all responsive records from March 6, 2017,

through the date of the search.

       20.     DHSHQ assigned the request tracking number 2018-HQFO-01112.

       21.     CBP assigned the request tracking number CBP-2018-065314.

       22.     ICE assigned the request tracking number 2018-ICFO-50812.

       23.     CIS assigned the request tracking number NRC2018098003.

                                     DHS Jeff Sessions FOIA

       24.     On June 20, 2018, American Oversight submitted a FOIA request to Defendant

CBP seeking access to the following records:

                   1. Any guidance or memoranda about Attorney General
                      Sessions’s immigration enforcement memoranda in April
                      2017 and April 20181 that were sent to (a) ICE, CBP, or
                      Border Patrol leadership; (b) supervisors of field officers;
                      (c) the National ICE Council; or (d) the National Border
                      Patrol Council.

                   2. Any email chains to which any guidance or memoranda
                      responsive to Item 1 are attached.

American Oversight requested all responsive records from March 11, 2017, through the date of

the search. American Oversight further indicated that the search may be limited to the following

custodians: (1) Pete Flores, Director of Field Operations, San Diego; (2) Director of Field

Operations, Houston; (3) Director of Field Operations, Laredo; (4) Director of Field Operations,

El Paso; (5) Director of Field Operations, Tucson; (6) Robert L. Boatright, Chief Patrol Agent,

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 A copy of the April 2017 memorandum is attached hereto as Exhibit A. A copy of the April
2018 memorandum is attached hereto as Exhibit B.


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Big Bend Sector, USBP; (7) Rush Carter, Border Community Liaison, Big Bend Sector, USBP;

(8) Felix Chavez, Chief Patrol Agent, Del Rio Sector, USBP; (9) David Vera, Border

Community Liaison, Del Rio Sector, USBP; (10) Gloria I. Chavez, Chief Patrol Agent, El Centro

Sector, USBP; (11) Rodney S. Scott, Chief Patrol Agent (Fmr.), El Centro Sector, USBP; (12)

Joyce Golosino, Border Community Liaison, El Centro Sector, USBP; (13) Aaron A. Hull, Chief

Patrol Agent, El Paso Sector, USBP; (14) Jose Romero, Border Community Liaison, El Paso

Sector, USBP; (15) Mario Martinez, Chief Patrol Agent, Laredo Sector, USBP; (16) Peter Ayala,

Border Community Liaison, Laredo Sector, USBP; (17) Manuel Padilla, Jr., Chief Patrol Agent,

Rio Grande Valley Sector, USBP; (18) Charles L. Miller, Border Community Liaison, Rio

Grande Valley Sector, USBP; (19) Rodney S. Scott, Chief Patrol Agent, San Diego Sector,

USBP; (20) Richard A. Barlow, Chief Patrol Agent (Fmr.), San Diego Sector, USBP; (21)

Michael J. Scappechio, Border Community Liaison, San Diego Sector, USBP; (22) Michael

Harris, Border Community Liaison (Fmr.), San Diego Sector, USBP; (23) Rodolfo Karisch,

Chief Patrol Agent, Tucson Sector, USBP; (24) Steve Passement, Border Community Liaison,

Tucson Sector, USBP; (25) Anthony J. Porvaznik, Chief Patrol Agent, Yuma Sector, USBP; and

(26) Mark W. Edwards, Border Community Liaison, Yuma Sector, USBP.

       25.    CBP assigned the request tracking number CBP-2018-065310.

                            Exhaustion of Administrative Remedies

       26.    As of the date of this Complaint, Defendants have failed to (a) notify American

Oversight of any determination regarding the requests, including the scope of any responsive

records Defendants intend to produce or withhold and the reasons for any withholdings; or

(b) produce the requested records or demonstrate that the requested records are lawfully exempt

from production.




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        27.    Through Defendants’ failure to respond to American Oversight’s FOIA requests

within the time period required by law, American Oversight has constructively exhausted its

administrative remedies and seeks immediate judicial review.

                                         COUNT I
                             Violation of FOIA, 5 U.S.C. § 552
               Failure to Conduct Adequate Searches for Responsive Records

        28.    American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

        29.    American Oversight properly requested records within the possession, custody,

and control of Defendants.

        30.    Defendants are departments of the executive branch of the U.S. government and

an agency and components thereof subject to FOIA and must therefore make reasonable efforts

to search for requested records.

        31.    Defendants have failed to promptly review agency records for the purpose of

locating those records which are responsive to American Oversight’s FOIA requests.

        32.    Defendants’ failure to conduct adequate searches for responsive records violates

FOIA.

        33.    Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendants to promptly make reasonable efforts to search for records responsive

to American Oversight’s FOIA requests.

                                       COUNT II
                           Violation of FOIA, 5 U.S.C. § 552
                 Wrongful Withholding of Non-Exempt Responsive Records

        34.    American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.




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       35.      American Oversight properly requested records within the possession, custody,

and control of Defendants.

       36.      Defendants are departments of the executive branch of the U.S. government and

an agency and components thereof subject to FOIA and must therefore release in response to

FOIA requests any non-exempt records and provide a lawful reason for withholding any

materials.

       37.      Defendants are wrongfully withholding non-exempt agency records requested by

American Oversight by failing to produce non-exempt records responsive to its FOIA requests.

       38.      Defendants are wrongfully withholding non-exempt agency records requested by

American Oversight by failing to segregate exempt information in otherwise non-exempt records

responsive to American Oversight’s FOIA requests.

       39.      Defendants’ failure to provide all non-exempt responsive records violates FOIA.

       40.      Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendants to promptly produce all non-exempt records responsive to its FOIA

requests and provide indexes justifying the withholding of any responsive records withheld under

claim of exemption.

                                     REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order Defendants to conduct searches reasonably calculated to uncover all records

             responsive to American Oversight’s FOIA requests identified in this Complaint;

       (2) Order Defendants to produce, within twenty days of the Court’s order, or by such

             other date as the Court deems appropriate, any and all non-exempt records responsive




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          to American Oversight’s FOIA requests and indexes justifying the withholding of any

          responsive records withheld under claim of exemption;

      (3) Enjoin Defendants from continuing to withhold any and all non-exempt records

          responsive to American Oversight’s FOIA requests;

      (4) Award American Oversight attorneys’ fees and other litigation costs reasonably

          incurred in this action, pursuant to 5 U.S.C. § 552(a)(4)(E); and

      (5) Grant American Oversight such other relief as the Court deems just and proper.



Dated: December 4, 2018                             Respectfully submitted,

                                                    /s/ Joseph F. Yenouskas
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                                                    /s/ Austin R. Evers
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                                                    Counsel for Plaintiff American Oversight




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